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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA            )
                                    )     CRIMINAL ACTION NO.
    v.                              )       3:05cr207-MHT-1
                                    )            (WO)
KEITH HALL                          )


                        OPINION AND ORDER

    Defendant Keith Hall has filed a motion to reduce his

sentence by three months on the ground that his criminal

history     category     substantially           overrepresents         the

seriousness of his criminal history.              Hall notes that the

court    extended    this    treatment      to    his    co-defendant,

Demario Campbell, and argues that the seriousness of his

criminal history is indistinguishable from that of co-

defendant    Campbell.        The       court   agrees    and,   having

evaluated the reasonableness of the sentence through the

lens of 18 U.S.C. § 3553, finds that a variance from the

United States Sentencing Guidelines is warranted on the

grounds that defendant Hall’s criminal history category
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substantially     overrepresents        the   seriousness       of      his

criminal history.       The government has orally informed the

court that it has no objection.

    Accordingly, it is ORDERED as follows:

    (1) Defendant Keith Hall’s motion to reduce sentence

(doc. no. 165) is granted.

    (2) The judgment in this case (doc. no. 163) is

amended   to   reduce    defendant     Hall’s     sentence     from     24

months imprisonment to 21 months.

    DONE, this the 22nd day of November, 2006.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
